          Case 1:21-cr-00028-APM Document 363 Filed 08/23/21 Page 1 of 1


                           Inner City Press
August 23, 2021
By E-mail to Chambers
Hon. Amit P. Mehta, United States District Judge
E. Barrett Prettyman Courthouse
333 Constitution Avenue N.W., Washington D.C. 20001

Re: Application for PUBLIC Access to videos in US v. JOSHUA A. JAMES, 21-cr-28-12 (APM)
Dear Judge Mehta:
  This is an application for access to videos used as judicial documents in the above captioned case,
which I have been reporting on for Inner City Press. This separate application should not be needed, given
the Court's order earlier today (Dkt 360). But, citing this Court's order only last week in US v. Harrelson
https://www.documentcloud.org/documents/21037354-
capitolcases5pressaccessvideoharrelsonmotionmehtaicp080521 I asked the US Attorney's Office for
access to Joshua James video and was told:
"The judge’s order limited dissemination to the Press Coalition."
 So, this application (and request that this two step process for public access to judicial documents)
As previously noted, DOJ interprets your Orders as ONLY requiring or even allowing them to release
these judicial documents to the "Coalition." This seems absurd, given the case law about the availability
of judicial documents to the public, not to a subset thereof.
I received a response from your Law Clerk, saying to apply under DDC Local Criminal Rule 57.6
"Any news organization ... shall file an application for such relief with the Court. The application shall
include a statement of the applicant's interest in the matter as to which relief is sought, a statement of
facts, and a specific prayer for relief."
Interest in the matter: Inner City Press covers dozens of the January 6 cases, its reporting has been cited
in numerous other media. There is no reason for it to have access denied or delayed to videos this Court
has provided to other media outlets.
Statement of facts: The video was used as a judicial document in this Court and must be made available,
to all and not just some.
Specific prayer for relief: Make the video publicly available. In the interim, instruct the Office of the US
Attorney to make it available.
 This is being emailed to Chambers, and the same AUSA and defense & Coalition counsel, and should as
before be docketed: I do not have filing privileges in DDC, and that should not be required for the press to
have access to exhibits released to other media. This needless two-tier process should be fixed, asap.
Thank you.
Matthew Russell Lee
cc: ahmed.baset@usdoj.gov, joni@jonirobinlaw.com, russelll@ballardspahr.com, tobinc@ballardspahr.com
Inner City Press: In-house SDNY: Room 480, 500 Pearl Street, NY NY 10007
E-mail: Matthew.Lee@innercitypress.com - Tel: 718-716-3540
Regular Mail: Dag Hammarskjold Center, Box 20047, New York, NY 10017
